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12
13                      IN THE UNITED STATES DISTRICT COURT

14                             FOR THE DISTRICT OF ARIZONA

15
     NATASHA YORK and GERY          )                     CASE NO: _______________________
16   PEARSON, On Behalf of Themselves
                                    )
     and All Others Similarly Situated,
                                    )                     PLAINTIFFS’ COLLECTIVE ACTION
17
     Plaintiffs,                    )                     AND CLASS ACTION COMPLAINT
18                                  )
     V.                             )                     (JURY TRIAL DEMANDED)
19
     DAVE & BUSTER’S, INC. and DAVE )
20   & BUSTER’S MANAGEMENT          )
     CORPORATION, INC.              )
21                                  )
     Defendants.                    )
22
23                                              SUMMARY
24      1.      The case implicates Defendants Dave & Buster’s, Inc.’s and Dave & Buster’s
25   Management Corporation, Inc.’s (“Defendants” collectively) violations of the Fair Labor
26   Standards Act’s (“FLSA”) and the Arizona Minimum Wage Act’s (“AMWA”) tip credit
27   and subsequent underpayment of their employees at the federally and state mandated
28
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1    minimum wage rate for Defendants’ failure to pay Plaintiffs and all similarly situated
2    workers their earned minimum wages. Plaintiffs brings this case as a collective action
3    under the FLSA, 29 U.S.C. 216(b). Plaintiffs York also brings this case as a class action
4    under Rule 23 of the Federal Rules of Civil Procedure for violations of the AMWA.
5       2.      Defendants pay their tipped employees, including servers and bartenders, below
6    the minimum wage rate by taking advantage of the tip-credit provisions of the FLSA and,
7    in Arizona, under the AMWA. Under the tip-credit provisions, an employer of tipped
8    employees may, under certain circumstances, pay those employees less than the minimum
9    wage rate by taking a “tip credit” against the employer’s minimum wage obligations from
10   the tips received from customers.
11      3.      However, there are strict requirements for an employer to utilize the “tip credit.”
12   See 29 U.S.C. 203(m). An employer must advise an employee in advance of its use of the
13   tip credit pursuant to the provisions of section 3(m) of the FLSA. See id. stating (the tip
14   credit provision “shall not apply with respect to any tipped employee unless such employee
15   has been informed by the employer of the provisions of this subsection.”). That is, the
16   employer must inform the employee: (1) the amount of the cash wage that is to be paid to
17   the tipped employee; (2) the amount by which the wages of the tipped employee are
18   increased on account of the tip credit; (3) that all tips received by the employee must be
19   retained by the employee except for tips contributed to a valid tip pool; and (4) that the tip
20   credit shall not apply to any employee who does not receive the notice.

21      4.      Further, it is illegal for employers to require tipped employees to give up a

22   portion of their tips to their employer or to ineligible employees, such as management staff.

23   See Myers v. Copper Cellar Corp., 192 F.3d 546, 551 (6th Cir. 1999)(for “the work shifts

24   in which salad mixers were included within the tip pool, the pooling scheme was

25   illegal...”); Portales v. MBA Inv. Co., LLC, No. 3:13CV00001, 2014 WL 5795206, at *3

26   (N.D. Ohio Oct. 16, 2014)(“When an employer includes a non-customarily tipped

27   employee or another employer in a mandatory tip pool, the pool is invalid under FLSA.”

28   (citing 29 U.S.C. § 203)); Bernal v. Vankar Enter., Inc., 579 F. Supp. 2d 804, 810 (W.D.
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1    Tex. 2008) (employer not permitted to take the FLSA tip credit when it required waiters to
2    pay for shortages and unpaid tabs).
3       5.      Additionally, an employer must pay the minimum statutory hourly rate ($2.13
4    per hour under the FLSA or the Arizona tipped minimum wage). See 29 U.S.C. § 203(m).
5    The AWA, A.R.S. § 23-350, et seq., establishes the law regarding the payment of wages in
6    Arizona. Arizona law establishes a minimum wage within the State of Arizona and
7    recognizes that, under certain circumstances, employers may impose a maximum tip credit
8    on the wages of their tipped employees of up to three dollars ($3.00). The FLSA, in turn,
9    requires that employers comply with any State law that establishes a higher minimum wage
10   than that established by the FLSA. See 29 U.S.C. § 218(a). Therefore, federal law requires
11   that all Arizona employers comply with the minimum wage standards set forth by Arizona
12   law and limits the maximum allowable tip credit to three dollars ($3.00). See Hanke v.
13   Vinot Pinot Dining, LLC, No. Civ. A. 2:15-cv-1873-SMM, Dkt. 51, at 4:6-11 (D. Ariz. Mar.
14   21, 2018) (“both the FLSA and AWA allow Arizona employers to take a maximum tip
15   credit of $3.00 against their minimum wage obligations to ‘tipped employees.’”); see also
16   Montijo v. Romulus, Inc., 2015 WL 1470128, at *5 n. 4 (D. Ariz. Mr. 30, 2015) (same).
17      6.      Moreover, an employer cannot pay below the minimum wage to tipped
18   employees and require those tipped employees to perform non-tipped work that is
19   unrelated to the tipped occupation. See Driver v. AppleIllinois, LLC, 739 F.3d 1073, 1075
20   (7th Cir. 2014) (explaining that when tipped employees perform “non-tipped duties” that

21   “are unrelated to their tipped duties…such as, in the case of restaurant servers, washing

22   dishes, preparing food, mopping the floor, or cleaning bathrooms, they are entitled to the

23   full minimum wage for the time they spend at that work.”); Romero v. Top-Tier Colorado

24   LLC, 849 F.3d 1281, 1285 (10th Cir. 2017); Osman v. Grube, Inc., No. 16-CV-802, 2017

25   WL 2908864, at *4 (N.D. Ohio July 7, 2017)(employer may not take a tip credit for the

26   time that a tipped employee spends on work that is not related to the tipped occupation);

27   Roussell v. Brinker Intern., Inc., No. 05 Civ. 3733, 2008 WL 2714079, at *12 (S.D. Tex.

28   July 9, 2008) (“An employer may take a tip credit for an employee that works ‘dual jobs,’
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1    but only for the time the employee spends working in his “tipped employee” capacity.”)
2    (quoting 29 C.F.R. 531.56(e)).
3       7.      Finally, an employer cannot require its tipped employees to perform non-tipped
4    work that is related to the employees’ tipped occupation but exceeds 20 percent of the
5    employees’ time worked during a workweek. See Marsh v. J. Alexander’s, LLC, 905 F.3d
6    610, 626-28 (9th Cir. 2018) (adopting 20% standard for dual jobs regulation and finding the
7    DOL’s opinion on dual jobs for tipped workers to be entitled to deference); Fast v.
8    Applebee’s Intern., Inc., 638 F.3d 872, 881 (8th Cir. 2011) (granting the DOL’s 20%
9    standard deference); Driver v. AppleIllinois, LLC, No. 06 Civ. 6149, 2012 WL 3716482,
10   at *2 (N.D. Ill. Aug. 27, 2012) (“An employer may take a tip credit only for hours worked
11   by [an] employee in an occupation in which [he] qualifies as a tipped employee.”); Driver
12   v. AppleIllinois, LLC, 739 F.3d 1073, 1075 (7th Cir. 2014) (the court indirectly cast its
13   imprimatur on the DOL’s aforementioned dual-jobs regulation and Field Operations
14   Handbook, citing both the “related to” standard in 29 C.F.R. § 531.56(e) and the 20%
15   standard in § 30d00(e)); Flood v. Carlson Restaurants, Inc., No. 13 Civ. 6458 (AT), 2015
16   WL 1396257 (S.D.N.Y. Mar. 27, 2015) (denying defendant’s motion to dismiss explaining
17   that the 20% standard is a reasonable interpretation of the FLSA and ultimately granting
18   216(b) notice); Ide v. Neighborhood Restaurant Partners, LLC, No. 13 Civ. 509 (MHC),
19   2015 WL 11899143, at *6 (N.D. Ga., 2015) (“. . . a reasonable interpretation of § 531.56(e)
20   is that [Plaintiffs] would be entitled to minimum wage if she spends more than twenty

21   percent of her time performing related but non-tipped duties.”); Crate v. Q’s Restaurant

22   Group LLC, 2014 WL 10556347, at *4 (M.D. Fla., 2014) (“[T]he Court concludes that the

23   20% rule clarifies the ambiguity contained in 29 C.F.R. § 531.56(e) by delineating how

24   much time a tipped employee can engage in related, non-tip-producing activity before such

25   time must be compensated directly by the employer at the full minimum wage rate.”).

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1    8.    Defendants violated the FLSA and the AWA in the following respects:
2           a. Violation for failure to inform: Defendants failed to correctly inform
3              Plaintiffs of the desire to rely on the tip credit to meet its minimum wage
4              obligations. In fact, Defendants failed to inform Plaintiffs of the following:
5              (1) the amount of the cash wage that is to be paid to the tipped employee;
6              (2) the amount by which the wages of the tipped employee are increased
7              on account of the tip credit; (3) that all tips received by the employee must
8              be retained by the employee except for tips contributed to a valid tip pool;
9              and (4) that the tip credit shall not apply to any employee who does not
10             receive the notice.
11          b. Violation for making illegal deductions that reduced the direct wage of
12             Plaintiffs below the minimum required hourly wage for tipped
13             employees: Plaintiffs was required to purchase certain clothing to work
14             for Defendants, which reduced his wages below the minimum hourly wage
15             required for tipped employees.
16          c. Violation for performing work unrelated to tipped occupation:
17             Plaintiffs were required to perform improper types, and excessive amounts,
18             of non-tipped work, including, but not limited to, setting up tables and
19             chairs for events, taking out trash, operating the dishwasher, cleaning
20             computer screens, and cleaning the wait station.

21          d. Violation for performing non-tipped side work in excess of 20% of the

22             time spent working in the week: Plaintiffs was required to perform greater

23             than 20% of their time in performing non-tip producing side work,

24             including, but not limited to, cleaning and rolling silverware, cleaning

25             bottles, sweeping the restaurant, refilling condiments, cleaning tables;

26             filling and cleaning ketchup bottles, filling and cleaning salt and pepper

27             shakers, replacing soft drink syrups, and refilling ice.

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1       9.        Therefore, Defendants did not pay Plaintiffs and all similarly situated workers
2    the applicable federal or Arizona minimum wage, in violation of 29 U.S.C. § 206 and
3    A.R.S. § 23-363. As a result of these violations, Defendants have lost the ability to use the
4    tip credit and therefore must compensate Plaintiffs and all similarly situated workers at the
5    full minimum wage rate, unencumbered by the tip credit, and for all hours worked. In other
6    words, Defendants must account for the difference between the wages paid to Plaintiffs
7    and all similarly situated workers and the minimum wage rate.
8                      SUBJECT MATTER JURISDICTION AND VENUE
9       10.       This court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 as
10   this case is brought under the laws of the United States, specifically the FLSA, 29 U.S.C.
11   § 216(b), et. seq.
12      11.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a
13   substantial part of the events and omissions giving rise to this claim occurred in this district,
14   including many of the wrongs herein alleged.
15                         PARTIES AND PERSONAL JURISDICTION
16      12.       Plaintiff Natasha York is an individual residing in Scottsdale, Arizona. Her
17   written consent to this action is attached hereto as Exhibit “A.”
18      13.       Plaintiff Gery Pearson is an individual residing in Texas. Her written consent
19   to this action is attached hereto as Exhibit “B.”
20      14.       The FLSA Class Members are all current and former tipped employees who

21   worked for Defendants for at least one week during the three year period prior to the filing

22   of this action to the present.

23      15.       The Arizona Class Members are all current and former tipped employees who

24   worked for Defendants for at least one week in Arizona during the three year period prior

25   to the filing of this action to the present.

26      16.       The FLSA Class Members and the Arizona Class Members shall be

27   collectively referred to as the “Class Members.”

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1       17.      Defendant Dave & Buster’s, Inc. is a foreign for-profit corporation doing
2    business in Arizona. Said Defendant may be served with process by serving its registered
3    agent: Capitol Corporate Services, Inc. at 8825 N. 23rd Ave., Suite 100, Phoenix, AZ 85021.
4       18.      Defendant Dave & Buster’s, Management Corporation, Inc. is a foreign for-
5    profit corporation doing business in Arizona. Said Defendant may be served with process
6    by serving its registered agent: Capitol Corporate Services, Inc. at 8825 N. 23rd Ave., Suite
7    100, Phoenix, AZ 85021.
8       19.      Defendants Pat all times relevant to this action have had sufficient minimum
9    contacts with the State of Arizona to confer personal jurisdiction. Defendants conduct
10   business throughout Arizona, contracted with and employed Arizona residents, has Arizona
11   customers, markets to residents of Arizona, and owns property in Arizona.
12                                             COVERAGE
13      20.      At all material times, Defendants have been employers within the meaning of
14   the FLSA. 29 U.S.C. § 203(d).
15      21.      At all material times, Defendants have been enterprises in commerce or in the
16   production of goods for commerce within the meaning of the FLSA. 29 U.S.C. § 203(s)(1).
17      22.      At all material times, Defendants have enjoyed yearly gross revenue in excess
18   of $500,000.
19      23.      At all material times, Plaintiffs were employees engaged in the commerce or
20   the production of goods for commerce.

21      24.      At all material times, Plaintiffs were employees of Defendants as defined by

22   A.R.S. § 23-350(2) and A.R.S. § 23-362.

23      25.      At all material times, Defendants were and continue to be “employers” as

24   defined by A.R.S. § 23-350(3) and A.R.S. § 23-362.

25      26.      At all material times, Defendants have operated as a “single enterprise” within

26   the meaning of 29 U.S.C. § 203(r)(1). That is Defendants perform related activities through

27   unified operation and common control for a common business purpose.

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1       27.          Defendants operate a nationwide chain of restaurants with the name “Dave &
2    Buster’s” under the control of the same senior level management. Indeed, the restaurants
3    advertise themselves as a unified entity through the same website.
4       28.          Defendants represent themselves to the public as one restaurant operating at
5    multiple locations. They share employees, have a common management, pool their
6    resources, operate from the same headquarters, have common ownership, and have the
7    same operating name.
8       29.          Defendants operate under a unified business model and part of that unified
9    business model is the wage violations alleged in this Complaint.
10      30.          Thus, Defendants formed a “single enterprise” and are liable for the violations
11   of the other.
12                                                    FACTS
13      31.          Defendants operate a nationwide chain of restaurants under the trade name
14   “Dave & Buster’s” throughout the U.S. Defendants operate in Arizona, Alabama, Florida,
15   Missouri, Georgia, New Mexico, Oklahoma, Ohio, Tennessee, Texas and other states.
16      32.          The Dave & Buster’s restaurants are full-service restaurants that employ
17   waiters and bartenders to provide services to customers.
18      33.          A waiter gathers orders from customers and delivers food and drinks to the
19   customers.
20      34.          A bartender makes various alcoholic beverages to customers.

21      35.          Defendants pay their waiters and bartenders less than the minimum wage under

22   state and federal law.

23      36.          Defendants attempted to utilize the tip credit to meet their minimum wage

24   obligation to their waiters and bartenders, including the Plaintiffs and Class Members.

25      37.          Plaintiff York worked for Defendants at the Dave & Buster’s location in

26   Glendale, Arizona. She worked as a waitress and was paid less than the minimum wage

27   allowed under Arizona and federal law. She worked for Defendants from approximately

28   August 2019 to February 2020.
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1       38.       Plaintiff Pearson worked for Defendants at the Dave & Buster’s location in El
2    Paso, Texas. She worked as a waitress and was paid less than the federal minimum wage.
3    She worked for Defendants from approximately February 2016 to March 2020.
4       39.       The tip credit has a harmful effect on workers that threatens the health of the
5    economy. Adasina Social Capital, a company representing investors with more than $538
6    billion in assets, has issued a letter large corporations operating restaurants advising of the
7    ills of using the tip credit. (See https://adasina.com/investor-statement-in-support-of-
8    ending-the-subminimum-wage/, last visited January 11, 2021). The letter states as follows:
9
              Tipped workers are the largest group paid a subminimum wage and
10            represent approximately six million people in the United States. The
              restaurant industry by far employs the largest number of tipped
11
              workers, representing 13.6 million people.
12            Frozen at $2.13 per hour, a tipped subminimum wage worker can
              be paid as little as $4,430 per year for full-time work. As a result,
13            in the 42 states that allow payment of a subminimum wage, tipped
14            workers are more than twice as likely to live in poverty, and the rates
              are even higher for women and people of color. The subminimum
15            wage for tipped workers has risen little since it was enacted following
16            the emancipation of slavery, a time when employer trade associations
              pushed to recoup the costs of free, exploited labor.
17
18   (Id.) (emphasis in original)
19      40.       Given the harmful effects of the tip credit, there are strict requirements that
20   must be met by an employer how seeks to utilize the trip credit to meet their minimum
21   wage obligations.
22      41.       In this case, Defendants did not satisfy the strict requirements to use the tip
23   credit. Defendants maintained a policy and practice whereby they failed to provide the
24   Plaintiffs and the Class Members with the statutorily required notice regarding (1) the
25   amount of the cash wage that is to be paid to the tipped employee, (2) the amount by
26   which the wages of the tipped employee are increased on account of the tip credit, (3) that
27   all tips received by the employee must be retained by the employee except for tips
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1    contributed to a valid tip pool, and (4) that the tip credit shall not apply to any employee
2    who does not receive the notice.
3       42.       Defendants also maintained a policy and practice whereby tipped employees
4    were required to perform non-tip producing side work unrelated to the employees’ tipped
5    occupation. As a result, Plaintiffs and the Class Members were engaged in dual occupations
6    while being compensated at the tip credit rate. While performing these non-tip generating
7    duties, they did not interact with customers and could not earn tips.
8       43.       These duties include but are not limited to the following: setting up tables and
9    chairs for events, taking out trash, operating the dishwasher, cleaning computer screens,
10   and cleaning the wait station, amongst other activities, that were not related to their tipped
11   duties.
12      44.       Defendants also maintained a policy and practice whereby tipped employees
13   were required to spend a substantial amount of time, in excess of 20 percent, performing
14   non-tip producing side work related to the employees’ tipped occupation.
15      45.       Specifically, Defendants maintained a policy and practice whereby tipped
16   employees, were required to spend a substantial amount of time performing non-tip
17   producing side work, including, but not limited to cleaning and rolling silverware, cleaning
18   bottles, sweeping the restaurant, refilling condiments, cleaning tables; filling and cleaning
19   ketchup bottles, filling and cleaning salt and pepper shakers, replacing soft drink syrups,
20   and refilling ice.

21      46.       Further, Defendants required Plaintiffs and the Class Members to perform non-

22   tipped producing work prior to the opening of the restaurant and after the restaurant closed.

23   Indeed, Defendants required the Plaintiffs and Class Members to arrive prior to the

24   restaurants opening for business when there were no customers and no opportunity to earn

25   tips, to perform manual labor cleaning and setup duties. Likewise, Defendants required

26   the Plaintiffs and Class Members to remain at the restaurant after it had closed for business

27   and there was no opportunity to earn tips, to perform manual labor cleaning duties. At

28   times, they spent 30 minutes to two hours performing work before the restaurant was open
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1    and the same amount of time after the restaurant was closed performing non-tipped
2    producing work.
3       47.      However, Defendants did not pay their tipped employees the full minimum
4    wage rate for this work. The duties that Defendants required Plaintiffs and the Class
5    Members to perform were duties that are customarily assigned to “back-of-the-house”
6    employees in other establishments, who typically receive at least the full minimum wage
7    rate.
8       48.      Additionally, Defendants regularly host private events. Plaintiffs and the Class
9    Members were required to set up and prepare for the private events approximately 1-2
10   hours before the start of the event. During that time, Plaintiffs and the Class Members set
11   up buffet stations, rolled silverware, set up tables and chairs, and set up any unique
12   decorations for the private events. The Plaintiffs and Class Members were paid less than
13   the minimum wage during the time spent working prior to the start of the event. Further,
14   after the event was over, the Plaintiffs and Class Members normally spent 1.5 to 2 hours
15   cleaning the event room. This included sweeping and vacuuming the event room, cleaning
16   tables and chairs, removing buffet stations and decorations, and other duties. For this work,
17   the Plaintiffs and Class Members were paid less than the minimum wage.
18      49.      During Plaintiffs’ and the Class Members’ employment, checklists were posted
19   in Defendants’ restaurants with numerous non-tipped duties that tipped employees were
20   required to perform, in addition to serving customers.

21      50.      When the tipped employees performed these non-tipped duties, they usually

22   did not interact with customers and did not have an opportunity to earn tips.

23      51.      Indeed, Defendants did not have a policy prohibiting tipped employees from

24   performing certain types, or excessive amounts, of non-tipped work.

25      52.      Defendants did not track or record the amount of time their tipped employees

26   spent performing non-tipped work, even though Defendants were capable of doing so.

27   Defendants’ timekeeping system was capable of tracking multiple job codes for different

28   work assignments but Defendants failed to track to the specific tasks for Plaintiffs.
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1       53.      Defendants use a point-of-sale system to record hours worked by their tipped
2    employees. Defendants then analyze the information collected by this system, including
3    the labor costs at each of the restaurants. Defendants’ timekeeping system was capable of
4    tracking multiple job codes for different work assignments, but Defendants failed to track
5    to the specific tasks for Plaintiffs and the Class Members.
6       54.      In the point-of-sale system, Defendants can create different “clock in” codes
7    that would allow tipped employees to record their time at the full minimum wage when
8    performing non-tipped work.
9       55.      However, Defendants did not allow their waiters and bartenders to clock-in at
10   the full minimum wage rate when performing non-tipped work described in this Complaint.
11      56.      Defendants’ managers at the restaurants were eligible to receive bonuses, in
12   part, based on meeting or exceeding certain labor cost targets, which created an incentive
13   to keep the amount paid to tipped employees low.
14      57.      Moreover, Defendants violated the law by not even paying the minimum
15   “tipped” hourly rate. Defendants required their tipped employees to pay for items for their
16   uniform, including shirts, pants, and shoes. These clothing items were required to perform
17   work for Defendants and were primarily for the benefit and convenience of Defendants.
18   The costs for these items were not reimbursed by Defendants.
19      58.      Because Defendants paid their tipped employees at the minimum of $2.13 per
20   hour (or the state’s respective tipped wage), any week in which a tipped employee was

21   required to pay for work related expenses for Defendants’ business, their compensation fell

22   below the minimum wage rate, thereby negating Defendants’ entitlement to claim the tip

23   credit.

24      59.       In other words, by requiring Plaintiffs and the Class Members to pay for these

25   work-related expenses, their hourly rates of pay were reduced by the amount of these

26   uniform costs. As a result, they were not even paid the minimum hourly rate necessary for

27   Defendants to claim the tip credit.

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1       60.        Because Defendants violated the requirements to claim the tip credit,
2    Defendants lost the right to take a credit toward their minimum wage obligation to Plaintiffs
3    and the Class Members.
4       61.        As such, Plaintiffs and the Class Members were not compensated at the
5    federally mandated minimum wage or Arizona minimum wage rate.
6       62.        Defendants know or should have known that their policies and practices violate
7    the law, and Defendants have not made a good faith effort to comply with the FLSA.
8    Rather, Defendants knowingly, willfully, and/or with reckless disregard of the law carried
9    and continue to carry out their illegal pattern and practice regarding their tipped employees.
10   Defendants’ method of paying Plaintiffs was not based on a good faith and reasonable
11   belief that its conduct complied with the law.
                         REVISED FIELD OPERATIONS HANDBOOK
12
                          AND PROPOSED DUAL JOBS REGULATION
13      63.        On November 8, 2018, the Department of Labor issued opinion letter
14   FLSA2018-27 which provided a standard for interpreting the dual jobs regulation that was
15   different than the “80/20” rule that had existed at the time. However, nearly every court to
16   have considered this opinion letter held that the opinion letter was not entitled to any
17   deference. See, e.g., Callaway v. DenOne, LLC, No. Civ. A. 1:18-cv-1981, 2019 WL
18   1090346 (N.D. Ohio Mar. 8, 2019); Cope v. Let’s Eat Out, Inc., 354 F. Supp. 3d 976 (W.D.
19   Miss. 2019).
20      64.        Therefore, the Department of Labor announced its intention to revise the dual
21   jobs regulation found in 29 C.F.R. § 531.56(e) and issued a notice of proposed rule-making
22   on October 8, 2019. (See https://www.federalregister.gov/documents/2019/10/08/2019-
23   20868/tip-regulations-under-the-fair-labor-standards-act-flsa). After soliciting comments,
24   the Department of Labor published its final rule on December 30, 2020, which had an
25   effective             date                of                March                   1,   2021.
26   (https://www.federalregister.gov/documents/2020/12/30/2020-28555/tip-regulations-
27   under-the-fair-labor-standards-act-flsa).
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1       65.        However, the Department of Labor delayed the effective date of the Final Rule.
2    (https://www.dol.gov/agencies/whd/flsa/tips). Instead, on June 21, 2021, the Department
3    of Labor announced “a notice of proposed rulemaking to limit the amount of non-tip
4    producing work that a tipped employee can perform when an employer is taking a tip
5    credit.” (Exhibit “C”).
6       66.        Under the proposed rule, if an employee performs non-tip work that exceeds
7    30 continuous minutes, that worker is no longer performing work that is part of the tipped
8    occupation. (Id).
9       67.        Here, Defendants illegally required Plaintiffs and the Class Members to
10   perform non-tip producing work for an excessive period of time.                          That is because
11   Defendants required Plaintiffs and the Class Members to perform non-tipped work 31
12   minutes to two hours before the restaurants were open for business or after they were
13   closed, when the restaurants did not have customers and there was no opportunity to earn
14   tips. During this time, Defendants paid below the minimum wage rate and forced the
15   Plaintiffs and Class Members to perform non-tip producing duties, as noted above.
16      68.        Given that Defendants failed to comply with the requirements to take the tip
17   credit, Defendants have lost the ability to claim the tip credit and owe Plaintiffs and the
18   Class Members pay at the full minimum wage rate per hour for all hours they worked for
19   Defendants.
20                              COLLECTIVE ACTION ALLEGATIONS

21      69.        Plaintiffs brings this action as an FLSA collective action pursuant to 29 U.S.C.

22   § 216(b) on behalf of all current and former tipped employees who worked for Defendants

23   for at least one week during the three year period prior to the filing of this action to the

24   present.

25      70.        Plaintiffs have actual knowledge, through conversations with their co-workers

26   that a class of similarly situated workers exists who have been subjected to the same

27   policies of Defendants with respect to the payment of the minimum wage.

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1       71.       The Class Members are similarly situated to Plaintiffs in that they share the
2    same duties and were subject to the same violations of the FLSA.
3       72.       Like Plaintiffs, the Class Members were not given proper notice of the tip
4    credit provisions, were required to perform substantial work that was unrelated to their tip
5    producing duties, and were required to incur the same work related expenses.
6       73.       Like Plaintiffs, the Class Members performed similar duties and were paid
7    under the same pay system.
8       74.       Moreover, the Class Members were also subject to expenses that either
9    dropped their compensation below the minimum wage or resulted in their not retaining all
10   of their tips (i.e., uniform expenses).
11      75.       Plaintiffs and the Class Members all labored under the same corporate
12   structure, the same corporate policies, the same corporate chain of command, and pursuant
13   to the rules in the same company handbook.
14      76.       The names and address of the Class Members of the collective action are
15   available from Defendants’ records. To the extent required by law, notice will be provided
16   to these individuals by first class mail, email, text message, or by the use of techniques and
17   a form of notice similar to those customarily used in representative actions.
18      77.       Although the exact amount of damages may vary among the Class Members
19   in proportion to the number of hours they worked, damages for each individual can be
20   easily calculated using a simple formula.

21      78.       As such, the class of similarly situated Class Members is properly defined as

22   follows:

23            All current and former tipped employees who worked for Defendants
24            for at least one week during the three year period prior to the filing of
              this action to the present.
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1                                    ARIZONA CLASS ALLEGATIONS
2       79.        Plaintiff York brings this action as a class action pursuant to Rule 23 of the Federal
3    Rules of Civil Procedure on behalf of the Arizona Class Members which is comprised of the
4    following:
5
              All current and former tipped employees who worked for Defendants for at
6             least one week in Arizona during the three year period prior to the filing of
              this action to the present.
7
8       80.        Numerosity. The number of members in the Arizona Class is believed to exceed
9    forty. This volume makes bringing the claims of each individual member of the Arizona Class
10   before this Court impracticable. Likewise, joining each individual member of the Arizona Class
11   as a plaintiff in this action is impracticable. Furthermore, the identity of the members of the
12   Arizona Class will be determined from Defendants’ records, as will the compensation paid to each
13   of them. As such, a class action is a reasonable and practical means of resolving these claims. To
14   require individual actions would prejudice the Arizona Class and Defendants.
15      81.        Typicality. Plaintiff York’s claims are typical of the Arizona Class because like the
16   members of the Arizona Class, she was subject to Defendants’ uniform policies and practices and
17   were compensated in the same manner as others in the Arizona Class. Plaintiff York’s and the
18   Arizona Class have been uncompensated and/or under-compensated as a result of Defendants’
19   common policies and practices which failed to comply with Arizona law. As such, Plaintiff York’s
20   claims are typical of the claims of the Arizona Class. Plaintiff and all members of the Arizona
21   Class sustained damages arising out of and caused by Defendants’ common course of conduct in
22   violation of law as alleged herein.
23      82.        Adequacy. Plaintiff York is a representative party who will fairly and adequately
24   protect the interests of the Arizona Class because it is in her interest to effectively prosecute the
25   claims herein alleged in order to obtain the unpaid wages and penalties required under Arizona
26   law. Plaintiff has retained attorneys who are competent in both class actions and wage and hour

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1    litigation. Plaintiff does not have any interest which may be contrary to or in conflict with the
2    claims of the Arizona Class she seeks to represent.
3       83.       Commonality. Common issues of fact and law predominate over any individual
4    questions in this matter. The common issues of fact include, but are not limited to:
5                 a. Whether Defendants properly informed Plaintiff and the Arizona Class Members
6                     of the intent to claim the tip credit;

7                 b. Whether more than 20% of the work performed by Plaintiff and the Arizona Class

8                     Members was non-tip generating work;

9                 c. Whether Plaintiff and the Arizona Class Members were required to perform more

10                    than 30 minutes of contemporaneous non-tip producing work;

11                d. and

12                e. Whether Plaintiff and the Arizona Class Members were subject to unlawful

13                    expense practices.

14      84.       The common issues of law include, but are not limited to;

15                a. Whether Defendants can claim the “tip credit”;

16                b. Whether Defendants violated the Arizona Minimum Wage Act;

17                c. Whether Plaintiff and the Arizona Class are entitled to compensatory damages;

18                d. The proper measure of damages sustained by Plaintiff and the Arizona Class

19                    Members; and

20                e. Whether Defendants’ actions were “willful.”

21      85.       Superiority. A class action is superior to other available means for the fair and

22   efficient adjudication of this lawsuit. Even in the event any member of the Arizona Class could

23   afford to pursue individual litigation against a company the size of Defendants, doing so would

24   unduly burden the court system. Individual litigation would magnify the delay and expense to all

25   parties and flood the court system with duplicative lawsuits. Prosecution of separate actions by

26   individual members of the Arizona Class would create the risk of inconsistent or varying judicial

27   results and establish incompatible standards of conduct for Defendants.

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1       86.       A class action, by contrast, presents far fewer management difficulties and affords
2    the benefits of uniform adjudication of the claims, financial economy for the parties, and
3    comprehensive supervision by a single court. By concentrating this litigation in one forum,
4    judicial economy and parity among the claims of individual Arizona Class Members are promoted.
5    Additionally, class treatment in this matter will provide for judicial consistency. Notice of the
6    pendency and any resolution of this action can be provided to the Arizona Class by mail, electronic

7    mail, text message, print, broadcast, internet and/or multimedia publication. The identity of

8    members of the Arizona Class is readily identifiable from Defendants’ records.

9       87.       This type of case is well-suited for class action treatment because: (1) Defendants’

10   practices, policies, and/or procedures were uniform; and (2) the burden is on Defendants to prove

11   it properly compensated its employees including any potential exemptions that might apply.

12   Ultimately, a class action is a superior form to resolve the Arizona claims detailed herein because

13   of the common nucleus of operative facts centered on the continued failure of Defendants to pay

14   Plaintiff and the Arizona Class Members per applicable Arizona laws.

15                                         CAUSE OF ACTION
16                                                    COUNT I
17                             VIOLATION OF THE FAIR LABOR STANDARDS
18                                 FAILURE TO PAY THE MINIMUM WAGE
19      88.       Plaintiffs incorporates the preceding paragraphs by reference.
20      89.       This count arises from Defendants’ violation of the FLSA in connection with

21   their failure to pay the minimum wages. See 29 U.S.C. § 206.

22      90.       Plaintiffs and the Class Members were paid hourly rates less than the minimum

23   wage while working for Defendants.

24      91.       Plaintiffs and the Class Members were not exempt from the minimum wage

25   requirements of the FLSA.

26      92.       Defendants’ failure to comply with the minimum wage requirements of the

27   FLSA, and, in particular, the tip credit requirements, resulted in Plaintiffs and the Class

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1    Members being paid less than the Federal minimum wage rate. Defendants’ violation of
2    the FLSA were willful.
3       93.      Defendants’ practice of failing to inform its employees of its intent to rely on
4    the tip credit to meets its minimum wage obligations violates the FLSA.
5       94.      Defendants’ failure to pay the minimum wage to Plaintiffs and the Class
6    Members, in violation of the FLSA was willful and not based on a good faith belief that
7    their conduct did not violate the FLSA. To foregoing conduct, as alleged, constitutes a
8    willful violation within the meaning of the FLSA. 29 U.S.C. § 255(a).
9                                                   COUNT II
10                        VIOLATION OF THE ARIZONA MINIMUM WAGE ACT
11                                FAILURE TO PAY THE MINIMUM WAGE
12      95.      Plaintiff York incorporates the preceding paragraphs by reference.
13      96.      This count arises from Defendants’ violation of the Arizona Minimum Wage
14   Act in connection with their failure to pay the minimum wages. See A.R.S. § 23-363.
15      97.      Plaintiff and the Class Members were paid hourly rates less than the Arizona
16   minimum wage while working for Defendants. See Arizona Administrative Code R20-5-
17   1207 and A.R.S. Title 23.
18      98.      Plaintiff and the Class Members were not exempt from the minimum wage
19   requirements under Arizona law.
20      99.      Defendants’ failure to comply with the minimum wage requirements of

21   Arizona law, and, in particular, the tip credit requirements, resulted in Plaintiff and the

22   Class Members being paid less than the Arizona minimum wage rate. Defendants’

23   violation of the Arizona law was willful.

24      100.     Defendants’ practice of failing to inform its employees of its intent to rely on

25   the tip credit to meets its minimum wage obligations violates Arizona law.

26      101.     Defendants’ failure to pay the minimum wage to Plaintiff and the Class

27   Members, in violation of Arizona law was willful and not based on a good faith belief that

28   their conduct did not violate Arizona law.
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1                                   WAGE DAMAGES SOUGHT
2       102.     Plaintiffs and the Class Members are entitled to receive the difference between
3    the minimum wage and the tip credit adjusted minimum wage for each hour they worked.
4       103.     Plaintiffs and the Class Members are entitled to reimbursement for all work
5    related expenses they paid.
6       104.     Plaintiffs and the Class Members are entitled to liquidated damages.
7       105.     Plaintiffs and the Class Members are also entitled to recover their attorney’s
8    fees and costs.
9                                            JURY DEMAND
10      106.     Pursuant to their rights under the Constitution of the United States, U.S. CONST.
11   amend VII, and FED R. CIV. P. 38(a), Plaintiffs hereby demand trial by jury.
12                                      PRAYER FOR RELIEF
13      107.     For these reasons, Plaintiffs respectfully request that judgment be entered in
14   their favor awarding them and the Class Members:
15      a. Minimum wage compensation unadulterated by the tip credit;
16      b. Liquidated damages;
17      c. All misappropriated funds including all tips, expenses, and wages wrongfully
18          withheld;
19      d. An order requiring Defendants to correct their pay practices going forward;
20      e. Reasonable attorney’s fees, costs, and expenses of this action;

21      f. Pre and post judgment interest; and

22      g. Such other and further relief to which Plaintiffs and the Class Members may be

23          entitled, both in law and in equity.

24   Dated June 29, 2021.

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